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FROM: Davi, Kathy RECIPIENT: Shelly Dick
SENDER'S FAX: RECIPIENT FAX: 225, 389.3641
SENDER'S PHONE: 212-453-3968
DATE: June 20, 2023
SUBJECT: Fax to Chief Judge Shelly D. Dick of the District Court for the Middle District of Louisiana
TOTAL PAGES 4
MESSAGE:

Good afternoon,

The attached fax is sent on behalf of Amanda Giglio.
Respectfully submitted,

Kathy Davi

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ACLU Voting Rights Project.
ACLU National Legal Department

AMERICAN CIVIL LIBERTIES UNION
FOUNDATION

June 20, 2028

Chief Judge Shelly D. Dick
U.S. District Court

Middle District of Louisiana
777 Florida Street, Suite 301
Baton Rouge, LA 70801

Plaintiffs write to preview the possible schedules they intend to propose at the
upcoming status conference on June 21, 2023. Plaintiffs have sent both of the
schedules described below to the Defendant and Defendant-Intervenors, all of whom
have indicated their opposition. Defendant and Defendant-Intervenors have also
been served with a copy of this letter.

Expedited Schedule to Resolve Plaintiffs’ Preliminary Injunction Motion
in Advance of the August 10 Filing Deadline

Plaintiffs stand on their motion for an expedited schedule for the resolution of a
motion for a preliminary injunction. R. Doc. 83. If this Court lifts the stay at the June
21 status conference, Plaintiffs are prepared to file their motion by end of day, and
would propose that the Court order the following schedule:

(i) Plaintiffs’ motion for a preliminary injunction and supporting evidence
shall be filed no later than June 21, 20238:

Gi) Defendant’s and Intervenors’ motions and supporting papers in
opposition to Plaintiffs’ motion for a preliminary injunction shall be filed
no later than June 30, 2023;

Gi) Plaintiffs’ reply motion, if any, shall be filed no later than July 5, 2023;
and

(iv) <A hearing on Plaintiffs’ motion for a preliminary injunction, should the
Court deem it necessary, shall begin on July 10, 20238, or as soon
thereafter as Plaintiffs’ motion may be heard.

This schedule would allow for a decision from this Court in time to enable the
Legislature to pass new maps in an extraordinary session or, in the absence of
legislative action, for the Court to hold a remedial proceeding in advance of the
August 10, 2023 filing deadline for the upcoming elections.

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Alternative: Expedited Schedule for Trial to Accommodate Potential
November 2024 Special Election

If the Court is not amenable to an expedited preliminary injunction schedule,
Plaintiffs intend to seek an expedited trial schedule to allow for potential relief of a
special election in November 2024 under new legislative maps if the current enacted
maps are found unlawful. Such relief would be sought to prevent Plaintiffs and
affected voters from enduring four years under an unrepresentative and unlawful
map. Further, a November 2024 special election would impose minimal burden on
the State, because federal elections will be held in Louisiana at the same time.

Courts within the Fifth Circuit have permitted special elections as a form of
retroactive relief where Plaintiffs first seek pre-election relief and were denied,
including where the pendency of a Supreme Court decision interferes with a plaintiffs
ability to seek pre-election relief. Clark v. Roemer, 777 F. Supp. 471, 484-85 (M.D. La.
1991); Williams v. City of Dallas, 734 F. Supp. 13817, 1415 (N.D. Tex. 1990); Tucker v.
Buford, 603 F. Supp. 276, 277-79 (N.D. Miss. 1985).

But for the August 2022 stay imposed by the Court during the pendency of Allen v.
Milligan, Plaintiffs were on track to have their preliminary injunction motion
resolved in time to obtain relief in advance of the 2023 general election—and indeed,
Plaintiffs continue to seek to fast-track relief now that Allen has been decided. R. Doc.
82, 83. Absent an expedited schedule to resolve Plaintiffs’ preliminary injunction
motion in advance of the October 2023 election, however, a special election is the only
practicable remedy available other than delaying relief for years after a judgment.

An expedited trial schedule is the only way to ensure that a special election can run
concurrently with the regularly scheduled November 2024 election in Louisiana.
Ordering such a schedule would ensure that there will be adequate time to put such
a remedy in place consistent with the principles set forth in Purcell v. Gonzalez, 549

U.S. 1 (20086).

Plaintiffs would welcome an opportunity to further brief the need for an expedited
trial schedule and special elections at the Court’s request.

Sincerely,

/s/ Sarah Brannon
Sarah Brannon John Adcock (La. Bar No. 30872)
Megan C. Keenan Adcock Law LLC

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